Case 8:24-bk-12267-SC Doc15 Filed 00/13 LES 09/18/24 11'17:42 Desc

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UNITED STATES BANKRUPTCY COURT coRR TATE RUPTCY COURT ENTERED
CENTRAL DISTRICT OF CALIFORNIA eee eas oDepily Clerk

_ SEP 13 204

In re: Jamie Lynn Gallian

CLERK U.S. BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
BY: j,__Bequty Clerk

rE

CASE NO.: 8:24-bk-12267-MH
CHAPTER: 13
_| ORDER REASSIGNING BANKRUPTCY -

CASE TO JUDGE (by mutual consent)
WITHIN DIVISION TRANSFER

[| WITHIN DISTRICT TRANSFER

Debtor(s).

It appearing that the above-captioned case is properly transferable in accordance with the provisions of
General Order 11-01,
IT IS HEREBY ORDERED that the above-captioned bankruptcy case be reassigned to Bankruptcy Judge

Scoit C. Clarkson [name to be inserted by the judge] for all further proceedings.

[<] Within Division Transfer

The bankruptcy case number will remain the same. However, the judge's initials must be changed to:

$c finitlals to be inserted by the judge] an all documents filed with the court.

[] All adversary proceeding(s) to be transferred
[-] Do not transfer adversary proceeding(s)

Cl Other:

[_] Within District Transfer

The new bankruptey case number is {will be Issued by the Clerk's Office after
the order fs signed].

duly 2073 Order Reassigning Bankruptcy Gase to Judge by Mutual Consenl F 5 0 0 4 -3 .

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[J All adversary proceeding(s} to be transferred and new adversary proceeding case numbers will

be issued by the Clerk’s Office.

O Do nat transfer adversary proceeding(s)

[] Other: |

Date:

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A
UNITED STATES BANKRUPTCY JUDGE

The undersigned Bankruptcy Judge hereby consents to the transfer of the above-captioned bankruptcy case

- ta, him/her.

Date: 9/12/24

UNITED STATES BANKRUPTCY JUDGE

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